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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
––––––––––––––––––––––––––––––––––––––––– x
Mina Kallamni, individually on            :
behalf of herself and all others similarly:
situated,                                 :               Case No.
                                          :
             Plaintiff,                   :
v.                                        :
                                          :
                                          :               CLASS ACTION COMPLAINT
Tengram Capital Partners, LLC,            :
                                          :                 JURY TRIAL DEMANDED
             Defendant.                   :
                                          :
                                          :
––––––––––––––––––––––––––––––––––––––––– x

                   Plaintiff Mina Kallamni (hereinafter “Plaintiff”), individually and on behalf of all

   others similarly situated, by her attorneys, alleges the following upon information and belief,

   except for those allegations pertaining to Plaintiff, which are based on personal knowledge:

                                      NATURE OF THE ACTION

          1.       This action seeks to remedy the deceptive and misleading business practices of

   Tengram Capital Partners, LLC (hereinafter “Defendant”) with respect to the marketing and sale

   of various body spray products throughout the state of New York and throughout the country,

   including, but not limited to, the following products (hereinafter collectively the “Products”):

                ● Sure - Lasts All Day, Unscented, Aerosol; and

                ● Brut - Classic, 24 Hr Protection.

          2.       Defendant does specifically list both the active and inactive ingredients of these

   Products but fails to disclose that the Products contain “benzene.”

          3.       Benzene is a widely recognized and incredibly dangerous substance, especially in

   the context of applying it to the skin.



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           4.       Benzene has been recognized, acknowledged, and accepted as a well-known health

hazard and human carcinogen for approximately a century. 1

           5.       For example, benzene is known to harm the bone marrow and long exposure can

lead to blood cancer, such as leukemia. 2

           6.       Consumers like the Plaintiff trust manufacturers such as Defendant to sell Products

that are safe and free from harmful known toxins, including benzene.

           7.       Plaintiff and those similarly situated (hereinafter “Class Members”) certainly

expect that the body spray they purchase will comply with its labeling and not contain any

knowingly harmful substances like benzene.

           8.       Defendant specifically manufactures, sells, and distributes the Products using a

marketing and advertising campaign centered around claims that appeal to health-conscious

consumers.

           9.       Defendant’s marketing and advertising campaign includes the one place that every

consumer looks when purchasing a product—the packaging and labels themselves. Consumers

expect the ingredient listing on the packaging and labels to accurately disclose the ingredients

within the Products.

           10.      However, Defendant’s advertising and marketing campaign is false, deceptive, and

misleading because the Products contain benzene, which Defendant does not list or mention

anywhere on the Products’ packaging or labeling.

           11.      Plaintiff and Class Members relied on Defendant’s misrepresentations and

omissions of what is in the Products when they purchased them.



1
    https://pubmed.ncbi.nlm.nih.gov/17718179/
2
    https://emergency.cdc.gov/agent/benzene/basics/facts.asp


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       12.      Consequently, Plaintiff and Class Members lost the entire benefit of their bargain

when what they received was a body spray product contaminated with a known carcinogen.

       13.      That is because Defendant’s Products containing a known human carcinogen have

no value.

       14.      As set forth below, body spray products that contain benzene are in no way safe for

humans and are entirely worthless.

       15.      Accordingly, Defendant’s conduct violated and continues to violate, inter alia,

New York General Business Law §§ 349 and 350. Defendant also breached and continues to

breach its warranties regarding the Products and be unjustly enriched. Lastly, Plaintiff brings a

claim for medical monitoring costs associated with testing, monitoring, and remediating the effects

of their benzene exposure.

       16.      Plaintiff brings this action against Defendant on behalf of herself and Class

Members who purchased the Products during the applicable statute of limitations period (the

“Class Period”).

                                  FACTUAL BACKGROUND

       17.      Consumers have become increasingly concerned about the effects of synthetic and

chemical ingredients in products that they and their family members put on and/or into their bodies.

Companies such as Defendant have capitalized on consumers’ desire for healthy and safe products,

and indeed consumers are willing to pay, and have paid, a premium for these products.

       18.      Consumers lack the meaningful ability to test or independently ascertain or verify

whether a product contains unsafe substances, such as benzene, especially at the point of sale, and

therefore must and do rely on Defendant to truthfully and honestly report what the Products contain

on the Products’ packaging or labels.



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        19.     When consumers look at the Products' packaging there is no mention of benzene.

Benzene is not listed in the ingredients section, nor is there any warning about the inclusion (or

even potential inclusion) of benzene in the Products. This leads reasonable consumers to believe

that the Products do not contain dangerous chemicals like benzene.

        20.     However, despite this, the Products contain benzene.

        21.     21st century research has confirmed that there is no safe level of benzene

exposure. 3

        22.     Benzene has been recognized, acknowledged, and accepted as a well-known health

hazard and human carcinogen for approximately a century. 4

        23.     The National Toxicology Program (hereinafter “NTP”) has regarded benzene as

“known to be a human carcinogen based on sufficient evidence of carcinogenicity from studies in

humans.” 5 Benzene has also been “found to be carcinogenic to humans” by the International

Agency for Research on Cancer (hereinafter “IARC”).

        24.     According to the Center for Disease Control (“CDC”), benzene can cause severe

health issues such as anemia, immune system damage, and cancer. 6

        25.     Direct benzene exposure through the skin is particularly concerning. For example,

“[d]irect exposure of the eyes, skin, or lungs to benzene can cause tissue injury and irritation.” 7

        26.     Research has revealed that benzene can be absorbed into the body through the lungs

and across the skin. 8 This makes benzene exposure from body sprays especially troubling because

the spray is put directly onto the skin, with the remnants flying through the air likely to be at least



3
  https://www.annualreviews.org/doi/full/10.1146/annurev.publhealth.012809.103646
4
  https://pubmed.ncbi.nlm.nih.gov/17718179/
5
  https://ntp.niehs.nih.gov/ntp/roc/content/profiles/benzene.pdf
6
  https://emergency.cdc.gov/agent/benzene/basics/facts.asp
7
  Id.
8
  https://www.atsdr.cdc.gov/toxprofiles/tp3-c1.pdf

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partially breathed in by the user and absorbed into their lungs. Thus, even a relatively low

concentration limit can result in very high total benzene exposure.

        27.     This is why recent research revealing benzene in Defendant’s Products is

particularly concerning.

        28.     Valisure LLC recently published a study (“Study”) that found that benzene has been

found in many body sprays. 9

        29.     In addition to Plaintiff’s own independent research, Valisure also found that

Defendant’s Products contained benzene. 10

        30.     The concerning part is that benzene exposure in the manufacturing process can be

specifically avoided so that the Products could have absolutely no benzene in them. 11

        31.     Therefore,      Defendant’s      false,    misleading,     omissions,      and    deceptive

misrepresentations regarding the ingredients of the Products are likely to continue to deceive and

mislead reasonable consumers and the public, as they have already deceived and misled Plaintiff

and the Class Members.

        32.     Defendant’s concealment was material and intentional because people are

concerned with what is in the products that they are putting onto and into their bodies. Consumers

such as Plaintiff and the Class Members are influenced by the ingredients listed. Defendant knows

that if it had not omitted that the Products contained benzene, then Plaintiff and the Class would

not have purchased the Products at all.




9
  https://www.valisure.com/wp-content/uploads/Valisure-FDA-Citizen-Petition-on-Body-Spray-v4.0-3.pdf
10
   Id.
11
   Id. at 1.


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                                 JURISDICTION AND VENUE

       33.      This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. section §1332(d) in that (1) this is a class action involving more than 100 class members;

(2) Plaintiff is a citizen of New York, Tengram Capital Partners, LLC is a citizen of the state of

Connecticut; and (3) the amount in controversy is in excess of $5,000,000, exclusive of interests

and costs.

       34.      This Court has personal jurisdiction over Defendant because Defendant conducts

and transacts business in the state of New York, contracts to supply goods within the state of New

York, and supplies goods within the state of New York.

       35.      Venue is proper because Plaintiff and many Class Members reside in the Southern

District of New York, and throughout the state of New York. A substantial part of the events or

omissions giving rise to the Classes’ claims occurred in this district.

                                             PARTIES

Plaintiff

       36.      Plaintiff Mina Kallamni is a citizen and resident of the state of New York. During

the applicable statute of limitations period, Plaintiff purchased Defendant’s Products that

contained benzene, including, but not limited to, Sure - Lasts All Day, Unscented, Aerosol.

       37.      Had Defendant not made the false, misleading, and deceptive representations and

omissions regarding the Products containing benzene, Plaintiff would not have been willing to

purchase the Products. Plaintiff purchased, purchased more of, and/or paid more for, the Products

than she would have had she known the truth about the Products. The Products Plaintiff received

were worthless because they contain the known carcinogen benzene. Accordingly, Plaintiff was

injured in fact and lost money as a result of Defendant’s improper conduct.



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Defendant

          38.   Defendant, Tengram Capital Partners, LLC, is a domestic corporation with its

headquarters and principal place of business located in Westport, Connecticut. Tengram Capital

Partners, LLC conducts business throughout the United States, including this district. Tengram

Capital Partners, LLC’s line of body spray products, including Products purchased by Plaintiff and

Class Members, are available at retail stores throughout New York and the United States.

Defendant created and/or authorized the false, misleading, and deceptive manufacturing,

marketing, advertising, and distributing of the Products.

                                     CLASS ALLEGATIONS

          39.   Plaintiff brings this matter on behalf of herself and those similarly situated. As

detailed at length in this Complaint, Defendant orchestrated deceptive marketing and labeling

practices. Defendant’s customers were uniformly impacted by and exposed to this misconduct.

Accordingly, this Complaint is uniquely situated for class-wide resolution, including injunctive

relief.

          40.   The Class is defined as all consumers who purchased the Products anywhere in the

United States during the Class Period.

          41.   Plaintiff also seeks certification, to the extent necessary or appropriate, of a subclass

of individuals who purchased the Products in the state of New York at any time during the Class

Period (the “New York Subclass”).

          42.   The Class and New York Subclass shall be referred to collectively throughout the

Complaint as the Class.




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       43.    The Class is properly brought and should be maintained as a class action under Rule

23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

adequacy because:

       44.    Numerosity: Class Members are so numerous that joinder of all members is

impracticable. Plaintiff believes that there are thousands of consumers in the Class and the New

York Subclass who are Class Members as described above who have been damaged by

Defendant’s deceptive and misleading practices.

       45.    Commonality: The questions of law and fact common to the Class Members which

predominate over any questions which may affect individual Class Members include, but are not

limited to:

              a. Whether Defendant is responsible for the conduct alleged herein which was

                    uniformly directed at all consumers who purchased the Products;

              b. Whether Defendant’s misconduct set forth in this Complaint demonstrates that

                    Defendant has engaged in unfair, fraudulent, or unlawful business practices

                    with respect to the advertising, marketing, and sale of their Products;

              c. Whether Defendant made false and/or misleading statements and omissions to

                    the Class and the public concerning the contents of their Products;

              d. Whether Defendant’s false and misleading statements and omissions

                    concerning its Products were likely to deceive the public; and

              e. Whether Plaintiff and the Class are entitled to money damages under the same

                    causes of action as the other Class Members?

       46.    Typicality: Plaintiff is a member of the Class. Plaintiff’s claims are typical of the

claims of each Class Member in that every member of the Class was susceptible to the same



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deceptive, misleading conduct and purchased Defendant’s Products. Plaintiff is entitled to relief

under the same causes of action as the other Class Members.

       47.     Adequacy: Plaintiff is an adequate Class representative because her interests do not

conflict with the interests of the Class Members she seeks to represent, her consumer fraud claims

are common to all members of the Class, she has a strong interest in vindicating her rights, she has

retained counsel competent and experienced in complex class action litigation, and counsel intends

to vigorously prosecute this action.

       48.     Predominance: Pursuant to Rule 23(b)(3), common issues of law and fact identified

above predominate over any other questions affecting only individual members of the Class. The

Class issues fully predominate over any individual issues because no inquiry into individual

conduct is necessary; all that is required is a narrow focus on Defendant’s deceptive and misleading

marketing and labeling practices.

       49.     Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy because:

               a.     The joinder of thousands of individual Class Members is impracticable,
               cumbersome, unduly burdensome, and a waste of judicial and/or litigation
               resources;

               b.     The individual claims of the Class Members may be relatively modest
               compared with the expense of litigating the claims, thereby making it impracticable,
               unduly burdensome, and expensive—if not totally impossible—to justify
               individual actions;

               c.      When Defendant’s liability has been adjudicated, all Class Members’
               claims can be determined by the Court and administered efficiently in a manner far
               less burdensome and expensive than if it were attempted through filing, discovery,
               and trial of all individual cases;

               d.     This class action will promote orderly, efficient, expeditious, and
               appropriate adjudication and administration of Class claims;




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               e.      Plaintiff knows of no difficulty to be encountered in the management of this
               action that would preclude its maintenance as a class action;

               f.      This class action will assure uniformity of decisions among Class Members;

               g.      The Class is readily definable and prosecution of this action as a class action
               will eliminate the possibility of repetitious litigation;

               h.      Class Members’ interests in individually controlling the prosecution of
               separate actions is outweighed by their interest in efficient resolution by single class
               action; and

               i.     It would be desirable to concentrate in this single venue the litigation of all
               Class Members who were induced by Defendant’s uniform false advertising to
               purchase its Products.

       50.     Accordingly, this Class is properly brought and should be maintained as a class

action under Rule 23(b)(3) because questions of law or fact common to Class Members

predominate over any questions affecting only individual members, and because a class action is

superior to other available methods for fairly and efficiently adjudicating this controversy.

                                INJUNCTIVE CLASS RELIEF

       51.     Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking class-

wide injunctive relief. Here, Defendant has engaged in conduct resulting in misleading consumers

about ingredients in its Products. Since Defendant’s conduct has been uniformly directed at all

consumers in the United States, and the conduct continues presently, injunctive relief on a class-

wide basis is a viable and suitable solution to remedy Defendant’s continuing misconduct. Plaintiff

would purchase the Products again if they did not include benzene.

       52.     The injunctive Class is properly brought and should be maintained as a class action

under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality,

and adequacy because:




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               a.     Numerosity: Individual joinder of the injunctive Class Members would be
               wholly impracticable. Defendant’s Products have been purchased by thousands of
               people throughout the United States.

               b.      Commonality: Questions of law and fact are common to members of the
               Class. Defendant’s misconduct was uniformly directed at all consumers. Thus, all
               members of the Class have a common cause against Defendant to stop its
               misleading conduct through an injunction. Since the issues presented by this
               injunctive Class deal exclusively with Defendant’s misconduct, resolution of these
               questions would necessarily be common to the entire Class. Moreover, there are
               common questions of law and fact inherent in the resolution of the proposed
               injunctive class, including, inter alia:

                     i. Resolution of the issues presented in the 23(b)(3) class;

                    ii. Whether members of the Class will continue to suffer harm by virtue of
                       Defendant’s deceptive product marketing and labeling; and

                    iii. Whether, on equitable grounds, Defendant should be prevented from
                        continuing to deceptively mislabel its Products?

               c.      Typicality: Plaintiff’s claims are typical of the claims of the injunctive Class
               because her claims arise from the same course of conduct (i.e., Defendant’s
               deceptive and misleading marketing, labeling, and advertising practices). Plaintiff
               is a typical representative of the Class because, like all members of the injunctive
               Class, she purchased Defendant’s Products which were sold unfairly and
               deceptively to consumers throughout the United States.

               d.      Adequacy: Plaintiff will fairly and adequately represent and protect the
               interests of the injunctive Class. Her consumer protection claims are common to
               all members of the injunctive Class and she has a strong interest in vindicating her
               rights. In addition, Plaintiff and the Class are represented by counsel who are
               competent and experienced in both consumer protection and class action litigation.

       53.     Plaintiff seeks injunctive relief on behalf of the Class Members on grounds

generally applicable to the entire injunctive Class and Defendant has acted or refused to act in a

manner that applies generally to the injunctive Class (i.e., Defendant has marketed its Products

using the same misleading and deceptive labeling to all of the Class Members).

       54.     Plaintiff also seeks to include an injunction to require the implementation and

funding of a blood serum testing program for the Plaintiff and Class Members to test for the



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presence of benzene in their blood serum; and the implementation and funding of a medical

monitoring program for Plaintiff and Class Members sufficient to monitor Plaintiff and Class

Members’ health to ensure they are adequately monitored for the harmful effects of benzene in the

human body.

        55.     Any final injunctive relief or declaratory relief would benefit the entire injunctive

Class as Defendant would be prevented from continuing its misleading and deceptive marketing

practices and would be required to honestly disclose to consumers the true nature of the contents

of its Products.

                                                 CLAIMS

                                 FIRST CAUSE OF ACTION
                         VIOLATION OF NEW YORK GBL § 349
                   (On Behalf of Plaintiff and New York Subclass Members)

        56.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        57.     New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . .”

        58.     The conduct of Defendant alleged herein constitutes recurring, “unlawful”

deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff and the New York

Subclass Members seek monetary damages against Defendant, enjoining it from inaccurately

describing, labeling, marketing, and promoting its Products.

        59.     There is no adequate remedy at law.

        60.     Defendant misleadingly, inaccurately, and deceptively advertises and markets its

Products to consumers.



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       61.     Defendant’s improper consumer-oriented conduct—including failing to disclose

that the Products have benzene—is misleading in a material way in that it, inter alia, induced

Plaintiff and the New York Subclass Members to purchase Defendant’s Products and to use the

Products when they otherwise would not have. Defendant made the untrue and/or misleading

statements and omissions willfully, wantonly, and with reckless disregard for the truth.

       62.     Plaintiff and the New York Subclass Members have been injured inasmuch as they

purchased products that were mislabeled, unhealthy, and entirely worthless. Accordingly, Plaintiff

and the New York Subclass Members received less than what they bargained and paid for.

       63.     Defendant’s advertising and Products’ packaging and labeling induced Plaintiff and

the New York Subclass Members to buy Defendant’s Products.

       64.     Defendant’s deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiff and the New York Subclass Members have been damaged thereby.

       65.     As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and the New York Subclass Members are entitled to monetary, statutory, compensatory,

treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

                              SECOND CAUSE OF ACTION
                        VIOLATION OF NEW YORK GBL § 350
                (On Behalf of Plaintiff and the New York Subclass Members)

       66.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

       67.     N.Y. Gen. Bus. Law § 350 provides, in part, as follows:




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               False advertising in the conduct of any business, trade, or commerce
               or in the furnishing of any service in this state is hereby declared
               unlawful.

       68.     N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

               The term ‘false advertising, including labeling, of a commodity, or
               of the kind, character, terms or conditions of any employment
               opportunity if such advertising is misleading in a material respect.
               In determining whether any advertising is misleading, there shall be
               taken into account (among other things) not only representations
               made by statement, word, design, device, sound or any combination
               thereof, but also the extent to which the advertising fails to reveal
               facts material in the light of such representations with respect to the
               commodity or employment to which the advertising relates under
               the conditions proscribed in said advertisement, or under such
               conditions as are customary or usual . . .


       69.     Defendant’s labeling and advertisements contain untrue and materially misleading

statements and omissions concerning its Products inasmuch as they misrepresent that the Products

are safe for use and don’t list that the Products contain benzene.

       70.     Plaintiff and the New York Subclass Members have been injured inasmuch as they

relied upon the labeling, packaging, and advertising and purchased Products that were mislabeled,

unhealthy, and entirely worthless. Accordingly, Plaintiff and the New York Subclass Members

received less than what they bargained and paid for.

       71.     Defendant’s advertising, packaging, and Products’ labeling induced Plaintiff and

the New York Subclass Members to buy Defendant’s Products.

       72.     Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       73.     Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.




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       74.     Defendant made the material misrepresentations described in this Complaint in its

advertising and on the Products’ packaging and labeling.

       75.     Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Products were and continue to be exposed to Defendant’s material misrepresentations.

       76.     As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and New York Subclass Members are entitled to monetary, statutory, compensatory,

treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

                                THIRD CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY
                         (On Behalf of Plaintiff and All Class Members)

       77.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       78.     Defendant provided Plaintiff and Class Members with an express warranty in the

form of written affirmations of fact promising and representing that the Products are safe for use

and do not contain benzene.

       79.     The above affirmations of fact were not couched as “belief” or “opinion,” and were

not “generalized statements of quality not capable of proof or disproof.”

       80.     These affirmations of fact became part of the basis for the bargain and were material

to Plaintiff and Class Members’ transactions.

       81.     Plaintiff and Class Members reasonably relied upon Defendant’s affirmations of

fact and justifiably acted in ignorance of the material facts omitted or concealed when they decided

to buy Defendant’s Products.



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       82.     Defendant knowingly breached the express warranties by including benzene in the

Products sold to Plaintiff and the Class without properly notifying them of its inclusion in the

Products.

       83.     Within a reasonable time after it knew or should have known, Defendant did not

change the Products’ labels to include benzene in the ingredient list.

       84.     Defendant thereby breached the following state warranty laws:

               a.      Code of Ala. § 7-2-313;

               b.      Alaska Stat. § 45.02.313;

               c.      A.R.S. § 47-2313;

               d.      A.C.A. § 4-2-313;

               e.      Cal. Comm. Code § 2313;

               f.      Colo. Rev. Stat. § 4-2-313;

               g.      Conn. Gen. Stat. § 42a-2-313;

               h.      6 Del. C. § 2-313;

               i.      D.C. Code § 28:2-313;

               j.      Fla. Stat. § 672.313;

               k.      O.C.G.A. § 11-2-313;

               l.      H.R.S. § 490:2-313;

               m.      Idaho Code § 28-2-313;

               n.      810 I.L.C.S. 5/2-313;

               o.      Ind. Code § 26-1-2-313;

               p.      Iowa Code § 554.2313;

               q.      K.S.A. § 84-2-313;



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    r.    K.R.S. § 355.2-313;

    s.    11 M.R.S. § 2-313;

    t.    Md. Commercial Law Code Ann. § 2-313;

    u.    106 Mass. Gen. Laws Ann. § 2-313;

    v.    M.C.L.S. § 440.2313;

    w.    Minn. Stat. § 336.2-313;

    x.    Miss. Code Ann. § 75-2-313;

    y.    R.S. Mo. § 400.2-313;

    z.    Mont. Code Anno. § 30-2-313;

    aa.   Neb. Rev. Stat. § 2-313;

    bb.   Nev. Rev. Stat. Ann. § 104.2313;

    cc.   R.S.A. 382-A:2-313;

    dd.   N.J. Stat. Ann. § 12A:2-313;

    ee.   N.M. Stat. Ann. § 55-2-313;

    ff.   N.Y. U.C.C. Law § 2-313;

    gg.   N.C. Gen. Stat. § 25-2-313;

    hh.   N.D. Cent. Code § 41-02-30;

    ii.   II. O.R.C. Ann. § 1302.26;

    jj.   12A Okl. St. § 2-313;

    kk.   Or. Rev. Stat. § 72-3130;

    ll.   13 Pa. Rev. Stat. § 72-3130;

    mm.   R.I. Gen. Laws § 6A-2-313;

    nn.   S.C. Code Ann. § 36-2-313;



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               oo.     S.D. Codified Laws, § 57A-2-313;

               pp.     Tenn. Code Ann. § 47-2-313;

               qq.     Tex. Bus. & Com. Code § 2.313;

               rr.     Utah Code Ann. § 70A-2-313;

               ss.     9A V.S.A. § 2-313;

               tt.     Va. Code Ann. § 59.1-504.2;

               uu.     Wash. Rev. Code Ann. § 6A.2-313;

               vv.     W. Va. Code § 46-2-313;

               ww.     Wis. Stat. § 402.313; and

               xx.     Wyo. Stat. § 34.1-2-313.

       85.     As a direct and proximate result of Defendant’s breach of the express warranties,

Plaintiff and Class Members were damaged in the amount of the price they paid for the Products,

in an amount to be proven at trial.

                         FOURTH CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                   (On Behalf of Plaintiff and All Class Members)

       86.     Plaintiff brings this count on behalf of herself and the Class and repeats and re-

alleges all previous paragraphs, as if fully included herein.

       87.     Defendant sold and Plaintiff and Class Members purchased the Products.

       88.     When sold by Defendant, the Products were not merchantable, did not pass without

objection in the trade under the label description, were not of adequate quality within that

description, were not fit for the ordinary purposes for which such goods are used, and did not

conform to the promises or affirmations of fact made on their container or label.




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           89.   Because the Products contain benzene, they in no way were safe for use as body

spray products.

           90.   As a direct result of Defendant’s Products being unfit for their intended purpose

and/or otherwise not merchantable, Plaintiff and Class members were damaged because they

would not have purchased Defendant’s Products had they known the true facts regarding the

benzene content.

                                FIFTH CAUSE OF ACTION
                              FRAUDULENT CONCEALMENT
                         (On Behalf of Plaintiff and All Class Members)

           91.   Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

           92.   Defendant concealed and failed to disclose on the Product’s packaging and labeling

the material fact that the Products contained benzene, and that the Products were not safe or healthy

for use.

           93.   Defendant had knowledge that the Products contained benzene, and that the

Products were not safe or healthy for use.

           94.   Defendant had a duty to disclose that the Products contained benzene, and that the

Products were not safe or healthy for use.

           95.   Defendant had superior knowledge or means of knowledge available to it and knew

that Plaintiff and Class Members would rely upon the representations and omissions of Defendant

regarding the quality and ingredients of its Products. Consumers lack the meaningful ability to

test or independently ascertain or verify whether a product contains benzene, especially at the point

of sale.




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       96.     Defendant’s concealment was material and intentional because people are

concerned with what is in the products that they are putting onto and into their bodies. Consumers

such as Plaintiff and the Class Members are influenced by the ingredients listed, as well as any

warnings (or lack thereof) on the products they buy. Defendant knows that if it had not omitted

that the Products contained benzene, then Plaintiff and the Class would not have purchased the

Products at all; however, Defendant wanted to increase sales and profits.

       97.     Defendant’s concealment misled Plaintiff and the Class as to the true nature of what

they were buying and putting onto and into their bodies.

       98.     Defendant fraudulently concealed that the Products contained benzene and that the

Products were not safe or healthy for use. Consequently, Plaintiff and the other members of the

Class have suffered injury and are entitled to damages in an amount to be proven at trial.

                                SIXTH CAUSE OF ACTION
                                 MEDICAL MONITORING
                         (On Behalf of Plaintiff and All Class Members)

       99.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       100.    As a result of Defendant’s negligence, Plaintiff and Class Members have been

exposed to the carcinogen benzene.

       101.    As a proximate result of Plaintiff and Class Members’ exposure to benzene,

Plaintiff and Class Members have a significantly increased risk of serious medical complications,

including ailments such as bone marrow harm and blood cancer (such as leukemia).

       102.    A monitoring procedure exists that makes the early detection of these types of

ailments possible.




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       103.    The prescribed monitoring program is reasonably necessary according to

contemporary scientific principles.

       104.    Defendant’s acts were willful, wanton, or reckless and conducted with a reckless

indifference to the health and rights of Plaintiff and Class Members.

                             SEVENTH CAUSE OF ACTION
                                 UNJUST ENRICHMENT
              (On Behalf of Plaintiff and All Class Members in the Alternative)

       105.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       106.    Plaintiff, on behalf of herself and consumers nationwide, brings a claim for unjust

enrichment.

       107.    Defendant’s conduct violated, inter alia, state and federal law by manufacturing,

advertising, marketing, and selling the Products while misrepresenting and omitting material facts.

       108.    Defendant’s unlawful conduct, as described in this Complaint, allowed Defendant

to knowingly realize substantial revenues from selling the Products at the expense of, and to the

detriment or impoverishment of, Plaintiff and Class Members and to Defendant’s benefit and

enrichment. Defendant has thereby violated fundamental principles of justice, equity, and good

conscience.

       109.    Plaintiff and Class Members conferred significant financial benefits and paid

substantial compensation to Defendant for the Products, which were not as Defendant represented

them to be.

       110.    It is inequitable for Defendant to retain the benefits conferred by Plaintiff and Class

Members’ overpayments.




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       111.   Plaintiff and Class Members seek establishment of a constructive trust from which

Plaintiff and Class Members may seek restitution.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues.

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for judgment as follows:

   (a) Declaring this action to be a proper class action and certifying Plaintiff as the representative

       of the Class under Rule 23 of the Federal Rules of Civil Procedure;

   (b) Entering preliminary and permanent injunctive relief against Defendant, directing

       Defendant to correct its practices and to comply with New York’s relevant consumer

       protection laws;

   (c) An Order requiring Defendant to establish a blood testing program for Plaintiff and the

       Class, as well as to establish a medical monitoring protocol for Plaintiff and the Class to

       monitor individuals’ health and diagnose at an early stage any ailments associated with

       exposure to benzene;

   (d) Awarding monetary damages and treble damages;

   (e) Awarding statutory damages of $50 per transaction, and treble damages for knowing and

       willful violations, pursuant to N.Y. GBL § 349;

   (f) Awarding statutory damages of $500 per transaction pursuant to N.Y. GBL § 350;

   (g) Awarding punitive damages;

   (h) Awarding Plaintiff and Class Members their costs and expenses incurred in this action,

       including reasonable allowance of fees for Plaintiff’s attorneys, experts, and

       reimbursement of Plaintiff’s expenses; and

   (i) Granting such other and further relief as the Court may deem just and proper.



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Dated: November 19, 2021
                                          THE SULTZER LAW GROUP P.C.

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